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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

ALEXANDRIA DIVISION
IN RE: CAPITAL ONE CONSUMER )
DATA SECURITY BREACH LITIGATION ) MDL No. 1:19md2915 (AJT/JFA)
)
ORDER

This matter is currently before the Court on Plaintiffs’ Motion to File Under Seal. (Dkt.
No. 2090.) The Motion to Seal was filed on November 5, 2021, along with a Notice of Filing
under Seal. A memorandum in support of the Motion to File Under Seal was also filed with the
Motion to File Under Seal, indicating that certain materials were being filed under seal that were
designated as confidential under the provisions of the Amended Stipulated Protective Order. (See
Dkt. No. 368.)

On November 12, 2021, Defendants Capital One Financial Corporation, Capital One Bank
(USA), N.A., and Capital One, N.A. (collectively, “Capital One”) filed a Response in Support of
the Motion to Seal. (See Dkt. No. 2122) In the Response, Capital One stated that limited passages
on pages 3 and 4 (“Excerpts”) and Exhibit 2 to Plaintiffs’ Reply in Support of their Motion to
Compel Discovery Regarding Capital One’s Statute of Limitations and Terms & Conditions
Defenses (“Reply”) should remain under seal because they include information designated by
Capital One as confidential pursuant to the Amended Stipulated Protective Order. No other
response or objection to sealing the materials has been filed, and the time for doing so has expired.

Having reviewed the limited Excerpts and Exhibit 2, pursuant to the Amended Stipulated
Protective Order and Local Civil Rule 5(C), and upon consideration of the pleadings filed herein

and the applicable standards as set forth by the Fourth Circuit in Va. Dep’t of State Police v.
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Washington Post, 386 F.3d 567 (4th Cir. 2004), the Court finds that the parties have shown a
sufficient basis for sealing certain information redacted in Plaintiffs’ Reply at this time. By
granting this motion to seal, the undersigned is not making a determination that this
information will remain under seal and will not be disclosed to the public during any
summary judgment proceedings or at the trial before the District Judge.
For the reasons stated above, the Motion to File Under Seal is GRANTED; and it is further
ORDERED that the Excerpts on pages 3 and 4 of the Reply [Dkt. No. 2094] and Exhibit

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2 [Dkt. No. 2094-2] shall remain under seal at this time. PIAINTULS ey U le ZyiR A.
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Entered this 1A day of (\exs ue. TTEY VWousad,

/s/
John F, Anderson

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United States Magistrate Judge

 
